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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

MAX ORTEGA III,

               Plaintiff,
        v.
                                                                     No. CIV 21-0728 RB/JHR
WILLIAM EDGMAN, LOUISE LOPEZ,
NEW MEXICO CORRECTIONS DEPARTMENT,
and DOES (1–50),

               Defendants.

 PLAINTIFF’S MOTION TO STRIKE EXHIBITS ACCOMPANYING “DEFENDANT
 LUIS LOPEZ’S MOTION FOR SUMMARY JUDGMENT AND REQUEST FOR STAY
  AND MEMORANDUM IN SUPPORT THEREOF ON THE BASIS OF QUALIFIED
                            IMMUNITY”
       Plaintiff Max Ortega III, by and through his attorneys of record, Gubernick Law, P.L.L.C.
(Benjamin Gubernick), and the Law Office of Todd J. Bullion (Todd Bullion), motion to strike
exhibits filed by Luis Lopez (“Defendant”) in support of “Defendant Luis Lopez’s Motion for
Summary Judgment and Request for Stay and Memorandum in Support Thereof on the Basis of
Qualified Immunity” (“Motion for Summary Judgment”) (Doc 21). The exhibits submitted by
Defendant in support of his Motion for Summary Judgment fail to meet the minimum standards
set forth in Federal Rule of Civil Procedure 56(c).

                                       INTRODUCTION
       The Court need not reach the merits of Defendant’s Motion for Summary Judgment. (Doc.
21). That is because the exhibits Defendant has submitted in support of his motion fall far short of
the minimum standards mandated by Rule 56(c). Of the eleven exhibits Defendant submitted, only
one, Exhibit C, is authenticated by seal and signature. As to the others, no witness—let alone a
witness with personal knowledge—has submitted an affidavit attesting to their authenticity.
Moreover, many of Defendant’s exhibits are rife with hearsay statements that would be
inadmissible if offered at trial. Those statements cannot be considered as presented by Defendant.


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        Defendant’s Motion for Summary Judgment does not attempt to lay foundation for its
exhibits or offer any argument for the exhibits’ authenticity. Instead, in a mere footnote, Defendant

asks the Court to do Defendant’s work for him through a request for judicial notice. (Doc. 21 at 3-
4). The Court should decline Defendant’s invitation and instead strike all exhibits except Exhibit
C. The Court should also strike any purported undisputed material fact referencing hearsay
statements.
        Nonetheless, should the Court decide not to strike Defendant’s exhibits and Defendant’s
use of hearsay, Plaintiff responds to Defendant’s Motion for Summary Judgment in the alternative
in his concurrently filed pleading “Plaintiff’s Response in Opposition to ‘Defendant Luis Lopez’s
Motion for Summary Judgment and Request for Stay and Memorandum in Support Thereof on the
Basis of Qualified Immunity”.
   I.         Legal Background
        A. Per Rule 56(c), summary judgment evidence must be admissible.
        A party moving for summary judgment bears the initial burden of identifying evidence
which demonstrates the absence of a genuine issue of material fact. The Federal Rules of Civil
Procedure lay out the process the moving party must follow:

        A party asserting that a fact cannot be or is genuinely disputed must support the
        assertion by:

        (A) citing to particular parts of materials in the record, including depositions,
        documents, electronically stored information, affidavits or declarations,
        stipulations (including those made for purposes of the motion only), admissions,
        interrogatory answers, or other materials; or

        (B) showing that the materials cited do not establish the absence or presence of a
        genuine dispute, or that an adverse party cannot produce admissible evidence to
        support the fact.
Fed. R. Civ. P. 56(c)(1)(A) and (B).
        The District of New Mexico has recognized that Rule 56(c) “does not require that the
evidence submitted at summary judgment be in a form that would be admissible at trial[.]” Klaus
v. Vill. of Tijeras, No. CV 20-1105 JFR/KK, 2022 WL 1645947, at *6 (FN 13) (D.N.M. May 24,

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2022) (citations, quotation marks, and brackets omitted). However, “the content or substance of
the evidence submitted at summary judgment must be admissible.” Id. Additionally, “[t]he burden

is on the proponent to show that the material is admissible as presented or to explain the admissible
form that is anticipated.” Fed. R. Civ. P. 56(c)(2) cmt. 2010 amendment; Mitchell v. Zia Park,
LLC, 842 F. Supp. 2d 1316, 1322 (D.N.M. 2012) (“Rule 56(c)(2) and the explanatory notes clearly
place the burden on the proponent of the evidence to explain its admissibility.”).
       B. Summary judgment evidence must be properly authenticated.
       “Documentary evidence submitted in support of summary judgment must either be
properly authenticated or self-authenticating under the Federal Rules of Evidence.” Turner v.
Metro. Prop. & Cas. Ins. Co., 2022 WL 1321201, at *2 (N.D. Okla. May 3, 2022) (emphasis
added). Thus, “[u]nauthenticated documents, once challenged, cannot be considered by a court in
determining a summary judgment motion.” Danaher v. Wild Oats Markets, Inc., 779 F. Supp. 2d
1198, 1205–06 (D. Kan. 2011) (citing Bell v. City of Topeka, Kan., 496 F.Supp.2d 1182, 1184–85
(D.Kan.2007) (citations omitted)); Ortiz v. Wingard, 173 F. Supp. 2d 1155, 1163 (D.N.M. 2001)
(“Materials that do not measure up to the standards of Rule 56 are subject to a motion to strike.”)
       Domestic public documents are self-authenticating if sealed and signed or if signed and
certified. See Rule 902(1)-(2). Additionally, certified copies of public records are also self
authenticating. See Rule 902(4). However, “[m]erely signing a pleading as the attorney” does not
suffice. In re Mendez, No. BKR. 7-07-11092 SA, 2010 WL 1233801, at *2 (Bankr. D.N.M. Mar.
22, 2010).
       C. Judicial notice does not allow for admission of hearsay.
       Pursuant to Federal Rule of Evidence 201, a court may take judicial notice of adjudicative
facts. However, that extends only to information that “(1) is generally known within the trial
court’s territorial jurisdiction; or (2) can be accurately and readily determined from sources whose
accuracy cannot be reasonably questioned.” Fed. R. Evid. 201(b). “The overarching concern with
taking notice of judicial records for ‘the truth of the matter asserted’ is the improper admission of
hearsay.” Johnson v. Spencer, 950 F.3d 680, 705 (10th Cir. 2020) citing Fed. R. Evid. 801(c)

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(“‘Hearsay’ means a statement that: (1) the declarant does not make while testifying at the current
trial or hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the

statement.” (emphasis added)). “Accordingly, a court may take notice of another court’s order only
for the limited purpose of recognizing the judicial act that the order represents or the subject matter
of the litigation.” United States v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) (citation and
quotation marks omitted). See also, Estate of Lockett ex rel. Lockett v. Fallin, 841 F.3d 1098, 1111
(10th Cir. 2016) (“[W]hen a court takes judicial notice of another court’s opinion, it may do so not
for the truth of the facts recited therein, but for the existence of the opinion, which is not subject
to reasonable dispute over its authenticity.” (internal quotation marks omitted)).
                                               ARGUMENT
       Except for Exhibit C, “[n]one of [Defendant’s] exhibits have been authenticated by nor
attached to affidavits and there has been no showing as to admissibility.” Ortiz, 173 F. Supp. at
1163. They are “not admissible on summary judgment.” Id. Accordingly, Plaintiff’s motion to
strike should be granted.
       Defendant’s Exhibit A. (Doc. 21, Ex. A).
       Defendant offers a ten-page document purporting to be a police report from the Colfax
County Sheriff’s Office. The exhibit contains handwritten notations on several pages, and
Plaintiff’s last name is misspelled on the exhibit’s fifth page. The exhibit is not sealed, signed,
certified, or otherwise authenticated by affidavit, through a deposition, or by any witness.
       Moreover, Defendant’s judicial notice request cannot cure Exhibit A’s foundational
defects. That is because “the Police Report is not subject to judicial notice.” Ormrod v. Hubbard
Broad., Inc., 2018 WL 1444857, at *12 (D.N.M. Mar. 22, 2018). Judicial notice extends only to
information that “(1) is generally known within the trial court’s territorial jurisdiction; or (2) can
be accurately and readily determined from sources whose accuracy cannot be reasonably
questioned.” Fed. R. Evid. 201(b). The information contained in Exhibit A is not common
knowledge in this Court’s territorial jurisdiction. Likewise, “the facts in the Police Report are not
‘accurately and readily determined from sources whose accuracy cannot be reasonably

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questioned,’ because one can reasonably question the police officer or the sources that he or she
used in writing the Police Report.” Ormrod, 2018 WL 1444857 at *12.

       Moreover, the statements contained in the police report are rank hearsay. Defendant
appears to offer Exhibit A to establish that Plaintiff committed crimes. In other words, Defendant
is offering the allegations in the reports for their truth. Although Defendant may try to argue in
reply that he is offering Exhibit A for their affect upon the listener, the summary judgment motion
does not even suggest that Defendant—or any other New Mexico Corrections Department
employee—ever saw Exhibit A.
       For all the above reasons, the Court should strike Exhibit A.
       Defendant’s Exhibit B, F, G, H, I, J, K, L. (Doc. 21, Exs. B, F, G, H, I, J, K, L).
       Exhibits B, F, G, H, I, J, K, and L are docket entries from State of New Mexico v. Max
Ortega, III, D-809-CR-2018-00069, a state court case in Colfax County district court. Plaintiff
objects to Defendant’s use of Exhibits B, F, G, H, I, J, K and L because: (1) the documents are not
properly authenticated; and (2) Defendant fails to specify which adjudicative facts its request for
judicial notice encompasses; and (3) to the extent that Defendant asks the court to take judicial
notice of the documents’ contents, that request is improper and warrants denial.
       First, none of the exhibits are authenticated by seal, signature, or certification, or are
otherwise authenticated by affidavit, through a deposition, or by any witness. That defect is fatal.
See Fed. R. Evid. 901(a) (“To satisfy the requirement of authenticating or identifying an item of
evidence, the proponent must produce evidence sufficient to support a finding that the item is what
the proponent claims it is.” (Emphasis added)). For that reason, they should be excluded from
consideration on summary judgement.
       Second, it was Defendant’s burden as movant to supply the court with the sufficient
information to support a request for judicial notice. Defendant skips that step. Defendant—through
a footnote in his motion—demands that the Court admit entire documents but fails to specify which
adjudicative facts he seeks admitted. (Doc. 21 at 3-4). That does not suffice. “A court must also
consider—and identify—which fact or facts it is noticing. … Just because the document itself is

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susceptible to judicial notice does not mean that every assertion of fact within that document is
judicially noticeable for its truth.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th

Cir. 2018). See also, In re Hillard Dev. Corp., 238 B.R. 857, 864 (Bankr. S.D. Fla. 1999) (request
for judicial notice of summary judgment evidence denied where “counsel failed to specify
particular facts to be noticed”).
       Finally, Defendant’s request for judicial notice extends well beyond the limited purpose of
recognizing another court’s judicial acts. United States v. Jones, 29 F.3d 1549, 1553 (11th Cir.
1994). For example, Exhibit B is a motion filed by the State of New Mexico requesting review of
Plaintiff’s release conditions—an adversarial pleading, not a court order.
       In summary, Defendant falls well short of his burden with regard to Exhibits B, F, G, H, I,
J, K, and L. They should be stricken.
       Defendant’s Exhibit D. (Doc. 21, Ex. D).
       Exhibit D is a document titled “New Mexico Corrections Department.” The subheading
reads “Receipt of State Prisoner.” The document appears to be a form, which is partially filled in
by hand. The document contains an illegible signature above “Identification Supervisor” and
illegible handwritten notations in the top-left corner. The document is not authenticated by seal,
signature, or certification, or otherwise authenticated by affidavit, through a deposition, or by any
witness. To the extent Defendant contends Exhibit D is a business record (and Defendant’s Motion
for Summary Judgment makes no such contentions), the document is not accompanied by any
certification from a records custodian. Moreover, Exhibit D is, plainly, not self-authenticating.
       Exhibit D also appears to contain Plaintiff’s full, unredacted social security number, in
direct violation of Federal Rule of Civil Procedure 5.2(a). That alone warrants striking Exhibit D.
See Taitz v. Astrue, 2011 WL 3039167, at *1 (D.D.C. July 25, 2011) (a motion to strike “promptly
granted due to … failure to comply with Federal Rule of Civil Procedure 5.2(a)(1), which requires
that only the last four digits of a social security number are to be filed with the Court.”). See also,
Allstate Ins. Co. v. Linea Latina De Accidentes, Inc., 2010 WL 5014386, at *2 (D. Minn. Nov. 24,



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2010) (counsel’s “failure to take seriously the interests protected by Rule 5.2(a)” was “extremely
concerning”).

       Defendant’s Exhibit E. (Doc. 21, Ex. E).
       Exhibit E is a document titled “Safekeeping of County Jail Inmates.” The documents lists
and effective date, reviewed date, and revised date. It is unknown whether the policy set forth in
this document was in effect at the time Plaintiff was incarcerated, or had been superseded. This
document is not authenticated by seal, signature, or certification, or otherwise authenticated by
affidavit, through a deposition, or by any witness. Exhibit E is unaccompanied by any certification
from a records custodian and the document is not self-authenticating.
       Even if Defendant had properly authenticated Exhibit E, the portion of Exhibit E Defendant
has highlighted and references in his motion is hearsay outside any exception. The document
should be excluded.
       Defendant’s Exhibit K. (Doc. 21, Ex. K).
       Defendant seeks to admit a courtroom log of a hearing that purportedly occurred in Colfax
County District Court. But the document contains a notice indicating that “[t]his log is not the
official record of proceedings” and that the log “is NOT a verbatim record of the proceedings.”
The document is not authenticated by seal, signature, or certification, or is otherwise authenticated
by affidavit, through a deposition, or by any witness. Exhibit K is not accompanied by any
certification from a records custodian and the document is not self-authenticating. Cf. Fields v.
Baseline Properties, LLC, No. CIV-19-864-D, 2020 WL 10790293, at *2 (W.D. Okla. July 10,
2020) (“Although Rule 56 authorizes papers other than affidavits to be used for summary judgment
purposes, the alleged permit application is submitted without explanation or authentication, and is
simply an unverified copy of an unidentified record.”). And even if the log was authenticated, its
contents would still be inadmissible hearsay. Exhibit K should be struck.
                                               CONCLUSION
       For the foregoing reasons, the Court should strike all exhibits except for Exhibit C, and
strike from Defendant’s motion all undisputed material facts that cite the excluded exhibits.

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                             Respectfully submitted,

                             /s/ Benjamin Gubernick______
                             Benjamin Gubernick
                             Gubernick Law, P.L.L.C.
                             10720 W. Indian School Rd.
                             Ste. 19 PMB 12
                             Phoenix, AZ 85037
                             623-252-6961
                             Ben@gubernicklaw.com

                             /s/ Todd J Bullion___________
                             Todd J. Bullion
                             Law Office of Todd J. Bullion
                             4811 Hardware DE Ne
                             Bldg D, Ste 5
                             Ste. l000E
                             (505) 452-7674
                             Todd@bullionlaw.com




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